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VIA ECF

Honorable Vernon S. Broderick
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:     United States v. Christopher Collins, et al., No. 18-cr-567 (VSB) (S.D.N.Y.)

Dear Judge Broderick:

         We write on behalf of our client, defendant Christopher Collins, and respectfully submit
this letter further to the Status Conference held on September 12, 2019, and the Court’s directive
to submit a letter addressing potential additional motions bearing on the Speech or Debate Clause
of the United States Constitution. Please be advised that today, Congressman Collins filed a
Notice of Appeal to the Second Circuit regarding the Court’s prior Speech or Debate Opinion
and Order dated September 6, 2019. ECF No. 120. Congressman Collins does not anticipate
filing any further motions in this Court bearing on the Speech or Debate Clause during the
pendency of this appeal.

        We have conferred with counsel for the Government regarding the Congressman’s Notice
of Appeal and advised the Government that Congressman Collins will not be filing any
additional Speech or Debate motions at this time. Accordingly, there is no need to set a schedule
for any such motions.

Respectfully Submitted,



Jonathan R. Barr

cc: All Counsel of Record (via ECF)


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